     Case 4:22-cr-00288-P Document 1 Filed 07/29/22                Page 1 of 6 PageID 1

                                                                                FILED
                 IN THE UNITED STATES DISTRICT COURT    July 29, 2022
                 FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION          KAREN MITCHELL
                                                    CLERK, U.S. DISTRICT
UNITED STATES OF AMERICA                                   COURT

v.                                                   No. 4:22-MJ- 587

JOSE CARLOS RIVAS-CHAIREZ (01)
ANA DOMINGO-FRANCISCO (02)

                                   CRIMINAL COMPLAINT

        I, the undersigned complainant, being duly sworn, state the following is true and correct
to the best of my knowledge and belief:

Alleged Offense:

       On or about July 29, 2022, in the Fort Worth Division of the Northern District of
       Texas, the defendants, Jose Carlos Rivas-Chairez and Ana Domingo-Francisco,
       aiding and abetting each other and knowing that they were aliens illegally and
       unlawfully present in the United States, did knowingly and unlawfully possess in
       and affecting interstate or foreign commerce the following firearms: a Remington,
       model 1911 R1, .45 caliber pistol, bearing serial number RHE0078; and a Glock,
       model 19x, 9mm caliber pistol, bearing serial number BWZW084, in violation of
       18 U.S.C. § 922(g)(5)(A) and § 924(a)(8) and § 2.

Probable Cause:

1. I, Kyle Medvetz (affiant), being duly sworn, depose and swear the following information is
   true and correct to the best of my knowledge and belief. I am a Special Agent with the Bureau
   of Alcohol, Tobacco, Firearms and Explosives (ATF) and have been so employed since March
   2020. I am currently assigned to the Dallas Field Division office. I have prior experience
   working interstate trafficking investigations. Through those investigations, I have learned
   trends that indicate firearms trafficking or straw purchasing.

2. As an ATF Special Agent, my primary responsibilities are enforcing federal firearms laws as
   set forth in the United States Code, including the following violations pertaining to this
   investigation: 18 U.S.C. § 922(a)(6), False Statement to a Federal Firearms Licensee (straw
   purchase); and 18 U.S.C. § 922(g)(5)(A), Possession of a Firearm by an Alien Illegally and
   Unlawfully Present in the United States. I have conducted numerous federal investigations of
   criminal activity and have testified in federal court numerous times concerning a wide variety

Criminal Complaint – Page 1
       Case 4:22-cr-00288-P Document 1 Filed 07/29/22                Page 2 of 6 PageID 2



     of federal criminal violations including the aforementioned violations. I have conducted
     numerous debriefings of defendants, witnesses, informants, and other persons concerning the
     aforementioned and related violations.

3.    As a result of training and experience as a Special Agent, I am familiar with the federal
     firearms laws and know it is unlawful for a person to possess a firearm as an alien illegally and
     unlawfully in the United States. I also know it is unlawful for someone to “straw purchase” a
     firearm. A straw purchase is committed when the individual purchasing the firearm is not the
     intended buyer. This typically occurs when an individual prohibited from purchasing and
     possessing firearms recruits an individual to acquire the firearm on their behalf.

4. This affidavit is based on my personal knowledge and on information provided to me by other
   law enforcement officers who participated in this investigation. Since this affidavit is being
   submitted for the limited purpose of supporting a criminal complaint, I have not included each
   and every fact known to me concerning this investigation.

5. In July of 2022, your affiant and an ATF SA were made aware of purchases of two FN, model
   Scar 17s, .308 caliber rifles by Jerusha Francisco on June 3 and June 6, 2022 from Range USA,
   a Federal Firearms Licensee (FFL), located at on S Cooper St in Arlington, Texas 76017.
   Francisco purchased each rifle for $4,005.24, for a combined total of $8,010.48.

6. A Texas Workforce Commission report showed Francisco earned $891.63 in 2022. In the
   fourth quarter of 2021, Francisco earned $10,052.97. Based on training and experience, your
   affiant knew that Francisco’s lack of a discernable income and the amount of money spent on
   the purchase of two (2) similar firearms of the same caliber during a short period of time, was
   indicative of firearms trafficking and straw purchasing.

7. On or about July 27, 2022, your affiant and another ATF SA conducted an audio recorded non-
   custodial interview of Francisco at her residence. Francisco admitted to purchasing the
   aforementioned FN SCAR rifles at the direction of her sister, Ana Domingo-Francisco
   (Domingo), for Domingo’s boyfriend, Jose Carlos Rivas-Chairez (Rivas). Francisco showed
   ATF SAs text message communication between herself and Domingo. The communication
   showed Domingo was directing Francisco to purchase the two rifles from Range USA for
   Rivas. The text messages also showed Domingo stated her address was 310 Mahogany Drive
   Arlington, Texas 76018. Francisco told your affiant Domingo resides at 310 Mahogany with
   her boyfriend, Rivas. Francisco told your affiant that Rivas was driving a black SUV.

8. On or about July 27, 2022, your affiant and another ATF SA went to Range USA. There, your
   affiant spoke with a Range USA employee who stated they remembered the two purchases
   Francisco made. A Range USA employee provided your affiant with surveillance footage from
   June 3, 2022, and June 6, 2022. Your affiant reviewed the footage, and on June 3, 2022,

Criminal Complaint – Page 2
     Case 4:22-cr-00288-P Document 1 Filed 07/29/22               Page 3 of 6 PageID 3



   observed Rivas, Domingo, and Francisco inside of Range USA. Rivas pointed at a wall where
   the FN SCAR rifles were located and walked to the counter in front of the rifles. Francisco
   walked next to Rivas. While Rivas and Francisco stood next to each other, Rivas looked at
   Francisco, then looked toward the wall where the FN SCAR rifles were hanging. Rivas did
   this multiple times. Rivas walked away, and Francisco began talking to the Range USA
   employee and Francisco handled the FN SCAR rifle. After completing the ATF Form 4473,
   Francisco left the store with the FN Scar Rifle

9. On or about July 27, 2022, the Range USA employee told your affiant of a purchase of an FN,
   model SCAR 20S, 7.62x51mm NATO rifle, bearing serial number PR15071 by a Mario Lara.
   During this transaction, Lara overpaid for the firearm by $100. A Range USA employee
   contacted Lara, advised him of the overpayment, and Lara returned to retrieve the $100. When
   the Range USA employee left work that night, the employee reported a black SUV followed
   the employee.

10. On or about July 27, 2022, your affiant contacted a Department of Homeland Security Special
    Agent to verify the immigration status of Domingo and Rivas. The HSI SA advised your
    affiant both Domingo and Rivas are not United States citizens and are currently in the United
    States illegally.

11. On or about July 29, 2022, you affiant and additional ATF SAs went to 310 Mahogany Drive
    Arlington, Texas 76018 in an attempt to interview Domingo and Rivas. The initial attempt to
    contact the residents at 310 Mahogany Drive was unsuccessful, and no one answered the door.
    Your affiant and another ATF SA attempted to contact Domingo via telephone. Eventually,
    Domingo called your affiant, and told your affiant she was currently at a doctor’s appointment
    at the Med-City Arlington Hospital. Your affiant asked Domingo if your affiant could meet
    her at the hospital, and Domingo agreed.

12. Your affiant and additional ATF SAs responded to Med-City Arlington while additional ATF
    SAs remained at 310 Mahogany Drive. Once at Med-City Arlington, your affiant contacted
    Domingo via telephone to inquire about her current location. Domingo told your affiant she
    was currently on her way home because she forgot her driver’s license.

13. As your affiant returned to 310 Mahogany Drive, another ATF SA observed an induvial exit
    the front of 310 Mahogany Drive. The ATF SA met with the individual, and determined this
    individual was a relative of Rivas. Moments later, Domingo exited the front of the residence,
    and an ATF SA began to talk with her.

14. During the interview, Domingo admitted to directing Francisco to purchase two FN SCAR
    rifles for Rivas. Domingo also showed ATF SAs the communication between her and



Criminal Complaint – Page 3
     Case 4:22-cr-00288-P Document 1 Filed 07/29/22                 Page 4 of 6 PageID 4



   Francisco where she directed Francisco regarding the purchases. At that time, Domingo told
   ATF SAs that she was a citizen of Mexico.

15. While Domingo was being interviewed, your affiant asked the relative of Rivas to call Rivas
    and ask him to come outside. The call was completed, and Rivas exited the front door of 310
    Mahogany Drive and began talking to your affiant.

16. During an audio recorded non-custodial interview between ATF SAs, your affiant, and Rivas,
    Rivas admitted to directing multiple individuals, including Francisco and Mario Lara, to
    purchase firearms on Rivas’s behalf. Rivas told your affiant there were multiple firearms
    currently inside of the residence. Your affiant asked Jose Rivas-Chairez if he would provide
    written consent for your affiant and ATF SAs to search the house for the firearms, ammunition,
    and other illicit items. Rivas agreed, as long as he was present during the search. Your affiant,
    another ATF SA, and Rivas read aloud from an ATF Consent to Search form. Rivas agreed
    to provide consent and signed the ATF Consent to Search form.

17. Once consent to search 310 Mahogany Drive was obtained, ATF SAs conducted a protective
    sweep of the interior of the residence. It was determined no other persons were inside of the
    residence, and ATF SAs began the search of 310 Mahogany Drive.

18. Your affiant, another ATF SA, and Rivas then walked through each room of 310 Mahogany
    Drive, and Rivas identified every place firearms, ammunition, firearm related items, and illicit
    narcotics were stored. In the master bedroom of 310 Mahogany Drive, Rivas showed your
    affiant where a Remington, model 1911 R1, .45 caliber pistol bearing serial number RHE0078
    was stored in a dresser drawer, loaded with eight (8) rounds of .45 caliber ammunition. Rivas
    also showed your affiant where a Glock, model 19x, 9mm caliber pistol bearing serial number
    BWZW084 was stored tucked into the south side of the master bed and loaded with seventeen
    (17) rounds of 9mm caliber ammunition. Leaning against the wall, in the northwest corner of
    the master bedroom, was an Aero Precision, model TX, multi caliber rifle, with serial number
    TXM4-06723. A drum magazine was inserted into the firearm, and approximately 62 rounds
    of .223/5.56 caliber ammunition was found inside. In the master bedroom closet, where female
    clothing belonging to Domingo was stored, a large cardboard box, standing approximately
    four feet tall, was propped up. Inside of the box was an FN, model Scar 20S, 7.62X51mm
    caliber rifle, with serial number PR19567. In addition, while searching the master bedroom,
    items belonging to Domingo were located. Rivas also told your affiant he occupied the room
    with Domingo and their two children. Moreover, during your affiant’s interview with Rivas,
    your affiant confirmed Rivas and Domingo were in a domestic, boyfriend-girlfriend
    relationship, and Domingo is pregnant with their child.

19. Throughout the residence, numerous empty firearm boxes were located. Rivas stated the
    firearms that were once in those boxes were no longer present in the house. Of note were four

Criminal Complaint – Page 4
     Case 4:22-cr-00288-P Document 1 Filed 07/29/22                  Page 5 of 6 PageID 5



   empty boxes with identifying markings to the following firearms: an FN, model SCAR 17S,
   7.62x51mm NATO rifle, bearing serial number H1C11871; an FN, model SCAR 20S,
   7.62x51mm NATO rifle, bearing serial number PR22565; and an FN, model SCAR 17S,
   7.62x51mm NATO rifle, bearing serial number H1C12232; an FN, model SCAR 17S, 7.62x51
   NATO rifle, bearing serial number H0C27133. Two of the firearms once in the boxes were
   purchased by Francisco, and two of the firearms once in the boxes were purchased by another
   individual known by your affiant to have purchased them from an FFL.

20. In a downstairs room of 310 Mahogany Drive, ATF SAs located a white substance suspected
    to be methamphetamine. In this same room was a device to remove a tire from a rim, and a
    rim attached to a tire. Rivas stated the tire once contained kilograms of methamphetamine
    which he sold prior to your affiant’s arrival at 310 Mahogany Drive. Rivas directed ATF SAs
    to additional trash bags stored on the side of 310 Mahogany Drive where numerous empty bags
    with a white residue were located. Rivas stated these empty bags once contained kilograms of
    methamphetamine and were previously stored in a separate tire.

21. Rivas directed ATF SAs to two duffel bags sitting on the living room floor. Inside of those
    bags, ATF SAs located two (2) disassembled FN SCAR 17S rifles, one (1) disassembled FN
    SCAR 20S rifle, one (1) suspected suppressor (silencer), nine (9) Glock handguns, and one
    (1), Colt handgun. The firearms and suspected suppressor were wrapped in towels, which were
    then wrapped in cellophane. An ATF SA questioned Rivas about the suppressor, and Rivas
    stated the suppressor makes the firing of a firearm quieter.

22. In total, in excess of one hundred and fifty-one (151) firearm boxes were observed throughout
    Rivas and Domingo’s residence.

23. Through an interview of Rivas and Domingo on July 29, 2022, and upon further search of
    their immigration records by an immigration officer, it was confirmed that Rivas and Domingo
    are not citizens or nationals of the United States and are aliens illegally and unlawfully present
    in the United States. A review of automated immigration systems indicated that Rivas was a
    citizen of Mexico who entered the United States on a B-2 visitor visa on July 3, 2004, with
    authorization to remain in the United States until January 1, 2005. Since the expiration of his
    visa, Rivas overstayed his visa and unlawfully remained in the United States without
    permission from the United States Attorney General or the Secretary of the Department of the
    Homeland Security. A review of automated immigration systems indicated Domingo was a
    citizen of Guatemala who entered the United States unlawfully and without inspection on or
    about October 19, 2017, and was found by immigration officials near San Luis, Arizona, and
    subsequently placed into immigration removal proceedings. Thus, at the time Rivas and
    Domingo possessed the above-described firearms, they were both illegally and unlawfully
    present in the United States. Further, in interviewing them, they admitted they were illegally
    present in the United States and that they knew of this illegal status.

Criminal Complaint – Page 5
   Case 4:22-cr-00288-P Document 1 Filed 07/29/22                   Page 6 of 6 PageID 6




24. An ATF certified Firearms Interstate Nexus Expert determined that the Remington, model
    1911 R 1, .45 caliber pistol, bearing serial number RH E0078, and Glock, model l 9x, 9mm
    caliber pistol, bearing serial number BWZW084 were not manufactured in the state of Texas.
    Therefore, at the time that Rivas and Domingo possessed the two firearms in their home in
    Fort Worth, Texas, they would have previously traveled in interstate and/or foreign commerce
    at some time prior to being possessed by Rivas and Domingo.

       Based upon the above facts and circumstances, I submit that there is probable cause to
believe that Jose Carlos Rivas-Chairez and Ana Domingo-Francisco, aiding and abetting each
other and knowing that they were aliens illegally and unlawfully present in the United States, did
knowingly and unlawfully possess, in and affecting interstate or foreign commerce, the following
firearms: an Remington, model 1911 RI , .45 caliber pistol, bearing serial number RHE0078; and
a Glock, model 19x, 9mm caliber pistol bearing serial number BWZW084, in violation of 18
U.S.C. § 922(g)(5)(A), and § 924(a)(8), and § 2.




                                             ATF Special Agent



Sworn to me, over the telephone or other electronic means, and signed by me
pursuant to Fed. R. Crim. P. 4.1 on this _29th                       7:33 p.m.,
                                           _ _ _ day of July 2022 at ___
in Fort Worth, Texas.

                                             HAL R. RAY, JR.
                                             UNITED STATES MAGISTRATE JUDGE




Criminal Complaint - Page 6
